Case 1:16-cV-01320-WPL-LF Document 1 Filed 12/02/16 Page 1 of 20

|N THE UN|TED STATES DlSTRlCT COURT
FOR THE DlSTRlCT OF NEW lVlEXlCO

CARLOS CASTRO and
HORTENC|A CASTRC,

Plaintiffs,
v. No. 1:16-cv-1320
GE|CO GENERAL lNSURANCE COMPANY,

Defendant.
NOT|CE OF REMOVAL

GE|CO General lnsurance Company (hereinafter “GE|CO”), by and through its
counsel of record, Chapman and Charlebois, P.C., (Donna L. Chapman and Jessica C.
Singer), as to the extra~contractual claims only, hereby files this Notice of Removal
pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, and in support thereof, states as follows:

1. Plaintiffs Carlos Castro and Hortencia Castro (“Plaintiffs”) filed their
Complaint for Breach of Contract, Bad Faith/ Breach of Fiduciary Duty and to Recover
Damages for Personal injuries from an Uninsured |\/lotorist, Unfair C|aims Practices, and
Punitive Damages (“Complaint”) in the Second Judicial District, Berna|illo County, State
of New l\/lexico, in Cause No. D-202-CV~2016-06662 (hereinafter “State CourtAction”) on
October 25, 2016. (See Plaintif"fs’ Comp|aint, attached hereto as Exhibit A).

2. in their Comp|aint, Plaintiffs allege they are residents of the State of NeW
l\/lexico. (/d. at 1[ 1, 2).

3. Plaintiffs named Defendant GE|CO, as the only Defendant in Plaintiffs’
Comp|aint.

4. Defendant asserts GE|CO is incorporated and its principal place of business

is in the state of Maryland.

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5. Diversity of citizenship is present in this matter as set forth in 28 U.S.C. §
1332(a) and 28 U.S.C. § 1441(b)(2).

6. Defendant accepted service through the Superintendent of insurance on
November 3, 2016. (See Exhibit B).

7. Less than thirty (30) days have passed since Defendant accepted service of
the initial pleadings on this matter.

8. As Defendant has accepted service and is the only Defendant served in this
matter, 28 U.S.C. § 1446(b)(2)(/-\) is satisfied (See Register of Actions forthe State Court
Action, hereto attached as Exhibit C).

9. Pursuant to Plaintiffs’ allegations, the amount in controversy exceeds
$75,000, as set forth in 28 U.S.C. §§ 1441(b)(2).

10. Pursuant to the allegations in Plaintiffs’ Complaint, dated October 25, 2016,
the amount in controversy exceeds the jurisdictional amount of $75,000. See also, Hanna
v. Mil/er, 163 F. Supp. 2d 1302, 1305-06 (D.N.l\/l. 2001). (Comp|aint, Wherefore
Paragraph following Paragraph 23, and the Wherefore paragraph). Plaintiffs’ Comp|aint
seeks an award of punitive damages (Comp|aint 1138 and the Wherefore paragraph.)
While GE|CO denies liability to Plaintiffs for compensatory or punitive damages, Plaintiffs’
claim for punitive damages, could exceed the jurisdiction threshold for diversity
jurisdiction Alternatively, Plaintiffs seek an award of treble damages under the Unfair
Practices Act. (Comp|aint, Wherefore Paragraph following Paragraph 35). Additionally,
Plaintiffs’ Comp|aint seeks an award of attorney’s fees pursuant to Nl\/lSA 1978, §39-2-1,
Nl\/lSA §59A-16-20 and Nl\/lSA 1978, §57-‘|2-10. (See Complaint, Wherefore Paragraph

following Paragraph 23 and Wherefore Paragraph following Paragraph 35).

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11. To confer subject matter jurisdiction on this Court based on diversity of
citizenship, the amount in controversy must exceed the sum or value of $75,000.00,
exclusive of interest and cost. 28 U.S.C. §1332(3). Where a complaint does not contain
dispositive allegations of the amount in controversy, the jurisdictional amount is
determined by the allegations in the underlying complaint See e.g., Laugh//'n v. Kman‘
Corp, 50 p.3d, 871, 873 (10 Cir. 1995). Calculations of the amount in controversy include
both compensatory and punitive damages, See, e.g., Be/l v. Preferred Life Assur. Soc’y
320 U.S. 238, 240 (1943); Watson v. B/akensh/`p, 30 F.3d 383, 386 (10 Cir.1994). This
calculation also includes attorney’s fees. See Miera v. Daiiy/and /ns. Co., No. 96-0136-
l\/l, mem.Op. (D.N.l\/l. Feb. 28, 1996)(denying remand of removed action based on
availability of attorney’s fees under New l\/lexico Unfair C|aims Practice Act and Unfair
Trade Practices Act. See also 14A Wright v. M/'//er, Federa/ Pract/'ce and Procedure,
§3712, at 176-78, and authorities cited therein; Foret v. Souther Farm Bureau Life /ns.
Co., 918 F. 2d 534, 537 (5 Cir. 1990). The calculation also includes treble damages
claims.

12. ln addition to actual damages in this case, Plaintiff is requesting attorney fees
and costs, exemplary and punitive damages Upon information and belief, Plaintiff will
likely seek in excess of $50,000 in attorney’s fees through the trial of this matter.

13. This case may be removed to this Court by Defendant pursuant to the
provisions of 28 U.S.C. §§ 1441(b) and 1446.

14. By and through this Notice of Removal, Defendant removes all claims
asserted against it on the basis of diversityjurisdiction, which is conferred upon this Court

pursuant to 28 U.S.C. §§ 1332 and 1441.

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15. Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of
Removal is being concurrently served upon the Plaintiff on this date.

16. Pursuant to 28 U.S.C. § 1446(d), Defendant is concurrently filing a Notice of
Filing of Removal in the State Court Action, a copy of which is hereto attached as Exhibit
D.

17. ln addition to the Notice of Filing Notice of Removal in the State Court Action,
Defendant is concurrently filing an Entry of Appearance in the State Court Action on this
date, a copy of which is hereto attached as Exhibit E.

18. Pursuant to 28 U.S.C. § 1446(a) and D.N.l\/l.LR-Civ. 81 .1(a), all process,
pleadings, and orders from the State Court Action will be filed with this Court in a separate
Transmittal of State Court Record within twenty-eight days (28) of this Notice.

19. A Civil Cover Sheet for this Court is hereto attached as Exhibit F.

WHEREFORE, the removing Defendant gives notice the above-styled action,
which was pending in the Second Judicial District, Bernalillo County, State of New
l\/lexico, as Cause No. D-202~CV~2016-06662 is removed to this Court.

Respectfully submitted ,

CHAPMAN AND CHARLEBO|S, P.C

/s/Jessica C. Singer
Donna L. Chapman

Jessica C. Singer

P.O. Box 92438

Albuquerque, Nl\/l 87199
505-242-6000
donna@cclawnm.com
jessica@cclawnm.com

Attorneys for GE/CO as to the extra-
contractual c/a/`ms only

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 5 of 20

l HEREBY CERTlFY that on the 2nd day of December, 2016, l filed the foregoing
electronically through Cl\/l/ECF system, which caused the following parties or counsel to
be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

Brent l\/l. Ferrel

Law Office of Brent l\/l. Ferrel, LLC
P.O. Box 7699

Albuquerque, Nl\/l 87194
Bmflawnm@omail.com

Attorney for P/aint/'ffs

Kathleen l\/l. l\/lixon

Doughty, Alcaraz & deGraauw, P.A.
20 First Plaza NW, Suite 412
Albuquerque, NM 87102
Kathy@Dadglawrcom

Attorney for GE/CO as to the contractual claims only

/s/Jess/'ca C. Sinoer
Jessica C. Singer

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 6 of 20
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10/25/2016 2:35:06 PM
James A. Noel
Latoya Grayes

STATE OF NEW MEXICO
COUNTY ()F BERNALILLO
SECOND JUDICIAL DISTRICT COURT D-202-CV-2016-O6662

No._

CARLOS CASTRO, and

HORTENCIA CASTRO
Plaintift`,

v.

GEICO GENERAL lNSURANCE COMPANY,
Defendant.

COMPLAINT FOR BREACH OF CONTRACT, BAD FAITH/BREACH OF FIDUCIARY
DUTY AND 'l`() RECOVER DAMAGES FOR PERSONAL INJURIES FROM AN
UNINSURED M()TORIST UNFAIR CLAIMS PRACTICES AND PUNITIVE
DAMAGES

COMES N()W, the Plaintiffs, by and through their attorney of record, Law Office of
Brent M. Ferrel, LLC., (Brent M. Ferrel7 Esq.) and for his causes of action states the following

PARTIES & VENUE

l. Carlos Castro, is a resident of Bernalillo County, New Mexico.
24 Hortencia Castro, is a resident of Bernalillo County, New l\/lexico.

3. Upon information and belief Defendant Geico General lnsurance Company (herein after
“Geico”) is a foreign corporation of insurance authorized to do business and doing
business Within the State of New MeXico and can be found in and is physical present

through its statutory agent in Santa Fe County New Mexico.

4. Geico, can be served through the Superintendent of lnsurance With the NeW Mexico

lnsurance Division

        

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Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 7 of 20

Defendant Geico did business in the state of New l\/iexico by issuing and delivering to
Plaintiffs a policy of insurance and by attempting to “adjust” Plaintiffs’ claims under the
policy

Jurisdiction and venue are proper within this court as the amount in controversy does not
exceed the diversity jurisdiction threshold

STATEMENT GF FACTS

Geico had issued a policy of insurance that covered The Plaintiffs that was in force at all
relevant times, which included a promise by Geico to pay up to the limits of the policy
that an insured person is legally entitled to recover from the owner operator of an
uninsured vehicle because of bodily injury sustained by an insured person

Despite law within the State of New Mexico to the contrary dealing with a collateral
source Geico has attempted to obtain an offset for medical payments coverage paid out
on behalf of their insured The Plaintiffs

On or about September 9, 2015, Mr. Castro was driving with Plaintiff Hortencia Castro
as a passenger West on Central Blvd in Albuquerque, Bernalillo County, New Mexico,
when an uninsured motorist rear ended the vehicle in which they were traveling and then
fled the scene of the collision As a direct and proximate result of the negligence of the
uninsured motorist Plaintiffs suffered damages to include but not limited to: physical
injuries, pain and suffering loss of enjoyment of life, loss of household services and
other damages not presently determinable but to be proven at time of trial

Geico issued a policy covering the Plaintiffs for damages and injuries caused by an
uninsured motorist, that was in effect at the time of the incident Plaintiffs also had in

effect at the time of the subject accident an additional policy for medical payment

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 8 of 20

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coverage Under the terms of this coverage Geico reserved the right to make subrogation
claims against a third party recovery but not against a first party recovery Despite having
a fiduciary duty to the contrary Geico has attempted to offset one portion of recovery
under the uninsured motorist coverage against the medical payments coverage rather than
treating the Med Pay coverage as a collateral source recovery Thereby offering to settle
claims for a lower and unreasonable amount forcing the Plaintiffs to institute litigation in
this matter

All of the information necessary to realize that Plaintiffs were entitled to damages under
the Uninsured Motori st coverage greater than what Geico has thus far offered is in the
possession of Geico.

Such information provided to Geico included: the medical records and bills diagnosing
the Castros with accident related injuries, the property damage estimates showing the

amount of damage to the Plaintiffs’ vehicle and other documents

. Despite all of this evidence Geico has impermissibly failed in good faith to effectuate

prompt, fair and equitable Settlements of Plaintiffs’ claims in which liability has become
reasonably clear;

Geico is in effect compelling Plaintiffs to institute litigation to recover amounts due
under the policy by offering substantially less than the amounts ultimately recovered in
actions brought by such insureds when such insureds have made claims for amounts

reasonably similar to amounts ultimately recovered

FIRST CAUSE OF ACTION
PERS()NAL INJURY/NEGLIGENCE UNDERINSURED M()TORIST

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 9 of 20

l5. Plaintiffs incorporate by reference as fully set forth herein each and every allegation
contained in the preceding paragraphs of this Complaint.

l6. On or about September 9, 2015 the Plaintiffs were involved in a motor vehicle collision
where the uninsured motorist negligently failed to keep a proper di stance, keep a proper
lookout, and failed to avoid vehicle contact and collided with the Plaintiffs’ vehicle
proximately causing injuries and damages to the Plaintiffs all in an amount not presently
determinable but to be proven at time of trial

l7. Under the terms of the policy the tortfeasor was an “uninsured motorist” making Geico
Liable for the injuries and damages of the Plaintiffs

SEC()ND CAUSE OF ACTION
BREACH OF CONTRACT

l8. Plaintiffs incorporate by reference as fully set forth herein each and every allegation
contained in the preceding paragraphs of this Complaint,

l9. The Insurance Defendants, and their employees and agents, entered into a fiduciary
relationship with Plaintiffs. The Insurance Defendant had and have duties to use the skill,
care, and knowledge of their claims representatives and underwriters in evaluating and
investigating claims made by their insureds in a prompt and thorough manner.

20. The insurance policy requires these Defendants to honor their obligations under the
subject policy

2l. The Insurance Defendants either intentionally or, in the alternative, negligently, breached
the insurance policy contractual provisions by failing to honor Plaintiffs7 request for a
prompt and reasonable settlement of their claims under the uninsured motorist policy

22. Defendant Geico has attempted to offset payments of additional coverage purchased by

the plaintiffs for the sole purpose of placing the Plaintiffs in a better position as far as

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 10 of 20

medical expenses should he be involved in a collision in order to justify an unreasonable
offer which is substantially less than the amounts ultimately recovered in actions brought
by such insureds when such insureds have made claims for amounts reasonably similar to
amounts ultimately recovered
23. Defendant, Geico and its employees by failing to pay within a reasonable period of time
an equitable amount and by attemptinth offset a collateral source payment of part of the
Plaintiff’ s damages have breached their duties under its policy of insurance and are
therefore in breach of their contract with the Plaintiffs.
WHEREFORE, Plaintiffs pray for judgment on their behalf against the defendant Geico,
in an amount to be determined, for bodily injury, pain, suffering nature extent and duration of
injuries, including disfigurementj reasonable past and future medical expenses, and non-medical
expenses, for punitive damages, and any other damages the uninsured motorist would have been
required to pay and, for damages for the defendant’s breach of contract, bad faith dealings,
attorney’s fees pre and post judgment interest and for such other and further relief as the Court

deems just and proper

SECOND CAUSE OF ACTION
UNFAlR CLAIMS PRACTICES

24. Plaintiffs incorporate the preceding paragraphs as though fully set forth herein

25. Defendant Geico had a duty to act fairly and in good faith in honoring the contract of
insurance with the plaintiffs and in handling the plaintiffs’ claims

26. Defendant Geico also have a duty under the New Mexico Unfair Claims Practices Act
[N.M. Sta. §59A~l6~20j to handle Plaintiffs’ claims consistent with that Act.

27. Plaintiffs’ has made a demand upon Defendant Geico by submitting proof of loss

information, Which complied in all respects with the policies’ requirements

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 11 of 20

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Defendants Geico has failed to timely pay Plaintiffs’ claims or to suggest any reasonable
alternative amount

Defendants Geico has a duty under their policies of insurance to effectuate a prompt, fair
and equitable settlement with the plaintiffs under their policies of insurance with the
Defendant.

Defendant Geico has breached their duties of good faith and fair dealings and their duties
under New Mexico’s Unfair Claims Practices Act as mentioned previously in this
complaint

As a result of Defendant Geico’s violations of its duties, Plaintiffs have suffered
unnecessary economic hardship and been compelled to litigation

Defendant Geico has an implied duty to deal in good faith with its insureds, including
Plaintiffs.

Upon information and belief, Defendant Geico has breached its duties under the Act by
failing to adopt and implement reasonable standards for the prompt investigation and
processing of insurance claims, and failing or refusing to attempt in good faith to
effectuate prompt, fair and equitable settlement of the Plaintiffs’ claims, in which liability
was clear

Upon information and belief, Defendants Geico also violated its duties by failing to settle
Plaintiffs’ claim promptly where liability had become clear under one portion of the
policies in order to influence settlement under other portions of the policy coverage
Defendant Geico’s unreasonable delay in addressing Plaintiffs’ insurance claims and its
impermissible consideration of collateral source payments to reduce the amount of their

offers demonstrates a conscious disregard of the Plaintiffs’ rights

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 12 of 20

WHEREFORE, Plaintiffs pray for the following relief: For judgment in their favor
against Defendant Geico, for treble damages attorney’s fees costs interest and other damages
in an amount to be proved at trial together with punitive damages or exemplary damages pre-
judgment and post-judgment interest and costs and for such further relief this Court deems

just and proper
THIRD CAUSE OF ACTION
PUNITIVE DAMAGES

36. Plaintiffs hereby re-allege and incorporates each of the foregoing paragraphs as if
contained fully herein

37. The acts and omissions of Defendants Geico in its unreasonable dealings with Plaintiffs’
insurance claims and other actions demonstrates a conscious disregard of the Plaintiffs’
Rights.

38. These acts were committed with utter and total disregard for the rights of the Plaintiffs
and were willful, wanton, reckless thus entitling Plaintiffs to an award of punitive
damages in an amount to be determined by the trier of fact

WHEREFORE, Plaintiffs pray for award of punitive damages in an amount to be determined

by the trier of fact

Respectfully submitted
Law Office of Brent M. Ferrel, LLC.

/S/ Brent M. Ferrel= Es_q.
Brent M. Ferrel, Esq.

PO Box 7699

Albuquerque, Nl\/l 87194
ornce; (505) 503-6330
Facsimilef (505) 50l-7551
Email; bmflawnm@gmailcom

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 13 of 20

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STATE OF NEW MEXICO
()FFICE ()F SUPERINTENDENT OF lNSURANCE
l\/iailing Address: P.O. Box 1689, Santa Fc, l\ll\/l 87504-1689
Physical Address: 1120 Paseo de Peralta, Room 428, Santa Fe, Nl\/l 87501
l\/lain Phone: (505) 827-4601; l\/lain Fax (505) 827-4734; Toll Free; 1-855-4-ASK-OSI
www‘osi.state.nm,us
SUPERINTENDENT OF Service of Process
lNSURANCE ' ~ » Roorn 432
.lohn G, Pranchini - (505) 827-4299 (505) 827-4241

     

I)EPUTY sUPERINTENI)ENT ’ .....
Robert Doucette - (505) 827-4439 "

November 3, 2016 /l/qj?\/I)
GEICO General lnsurance Co. wm ~
Q\\° b '

Legal Dept. ~ Matthew J Zuraw

~ 5
2280 North Greenville Ave 0
Richardson, TX 75082 § €{\{/\\@\

Re: Carlos Castro, and Hortencia Castro Vs GEICO General lnsurance Company,
D202CV2016-06662

Dear Mr. President:

ln accordance with the provisions ot`Nl\/lSA 1978, Sections 59A-5-31 & 59A~32, enclosed is a
copy of a Summons, Plaintiff’ s Certification Regarding Arbitration Under Rule LR2-603and
Complaint for Breach of Contract, Bad Faith/Breach of Fiduciary Duty and to Recover Damages
for Personal injuries from an Uninsured Motorist Unfair Claims Practices and Punitive Damages,
to Defendant GEICO General Insurance Company on the above styled cause, Service has been
accepted on your behalf as of November 3, 2016.

Respectfully,

Yiltsilwlv>

John G. Franchini, Superintendent

Enclosure
CERTIFIED l\/lAlL 70112 3460 0003 1668 5321

EXHlBlT

 

 

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 15 of Bge 1 Of]

    

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REGISTER OF ACTIONS
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Carlos Castro, et al., v. Geico General insurance Company Case Type: Tort Auto
Date Filed: 10125/2016
Location: Bernalil|o County

Judicial Officer: Malott, Alan

601(01£01(0'1(0)¢0')

 

PARTY lNFORMATlON

Attorneys
Defendant Geico General lnsurance Company
P|aintiff Castro, Carlos Brent M. Ferrel
Reta/ned

505-503-6330(w)

Plaintiff Castro, Hortencia Brent M. Ferrel
Retained
505-503-5330(w)

 

EVENTS & ORDERS OF THE COURT

OTHER EVENTS AND HEARINGS
10/25/2016 OPN: COMFLAlNT
10/25/2016 ARB: CERT NOT SUBJECT
10/27/2016 Summons
Geico General insurance Company Unserved

 

FINANCIAL lN FORMATION

Plaintiff Castro, Carlos

Total Flnancial Assessment 132.00
Total Payments and Credits 132.00
Ba|ance Due as of 11/29/2016 0.00
10/25/2016 Transactlon Assessment 132,00
10/25/2016 File & Serve Payment Receipt # Al_BD-2016-29558 Castro, Carlos (132.00)

EXHlBlT

,Q.___

http://opa.nmcourts.gov/CaseDetail.aspx‘?CaselD=7 1 41 107 11/29/2016

 

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 16 of 20

STATE OF NEW N|EX|CO
COUNTY OF BERNALiLLO
SECOND JUD|C|AL DiSTRiCT

CARLOS CASTRO, and
HORTENC| CASTRO,

Piaintiffs,

v. No. D-202-CV-20'16-06662

GE|CO GENERAL lNSURANCE COMPANY,

Defendant.
NOT|CE OF FlL|NG OF R§MOVAL
PLEASE TAKE NOTiCE that GEiCO Generai lnsurance Company (hereinafter
“GE|CO”), by and through its attorneys Chapman and Char|ebois, P.C. (Donna L.
Chapman and Jessica C. Singer), has filed a Notice of Removai in the United States
District Court for the District of New i\/iexico. A true and correct copy of the Notice of

Removai, attached to this Notice as Exhibit “1” was sent via emaii to:

Brent M. Ferrel

LaW Office of Brent i\/i. Ferrel
P. O. Box 7699
Aibuquerque, Ni\/i 87194
Bmfiawhm.@qmaii.com

Attorne y for P/aint/`ff
Respectfuiiy submitted,

Cj(APNIAN AN CHAR OiS, P.C.

 

    

. apman
Jessica C. Singer
P.O. Box 92438
Aibuquerque, Ni\/i 87199
Tei: (505) 242-6000

donha@cciawnm.com

iessica@cciawnrn.com
Attorneys for GE/CO

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Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 17 of 20

l hereby certify the foregoing Was served
on the following counsel of record via the
Odyssey Fiie & Serve system on this l_r\gl
day of December, 2016:

Brent l\/i. Ferrel

Law Office of Brent l\/i. Ferrel
P.O. Box 7699

Aii:)uquerque, NiVl 87194
Bmtlavvnm.@omail,com
Attorney for P/a/'ntiff

 

JeM

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 18 of 20

STATE OF NEW MEXiCO
COUNTY OF BERNAL|LLO
SECOND JUD|C|AL D|STRICT

CARLOS CASTRO, and
HORTENCI CASTRO,

Plaintiffs,

v. No. D-202-CV-2016-06662

GE|CO GENERAL lNSURANCE COMPANY,

Defendant.

ENTRY OF APPEARANCE

Chapman and Char|ebois, P.C. (Donna l.. Chapman and Jessica C. Singer),
hereby enter their appearance on behalf of Defendant GE|CO Generai insurance

Company. Copies of ali documents pertaining to litigation in this matter should be sent

to the undersigned attorneys

Respectfuliy submitted,

    

 

jonna L. Chapman
Jessica C. Singer
P.C. Box 92438
Aibuquerque, Ni\/i 87199
505-242-6000
donna@cclavvnrn.com
iessica@cciavvnm.corn
Attorneys for GE/CG

 

 

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 19 of 20

l hereby certify the foregoing was served
on the following counsel of record via the
Odyssey File & Serve system on this __;___
day of December, 2016:

Brent M. Ferrel

Law Office of Brent M. Ferrel
P.O. Box 7699

Albuquerque, NM 87194
Bmfiawnm_@qrhaii.corn
Attorney for Plaintiff

 

 

Case 1:16-cv-01320-WPL-LF Document 1 Filed 12/02/16 Page 20 of 20

JS 44 (Rev. 12/12)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ot`pleadings or other papers as required by law, except as
provided by local rules of court This form, approved by the Judicial Conference of the United States in Septernber 1974, is required for the use of the Clerk of Court t`or the
purpose Of initiating the Civil docket Sheet. (SEE lNSTRUCT/()NS ON NEXY'PAGI;` ()l" THIS FORM.)

I. (a) PLAlNTIFFS
cARLos cAsTRo, and
HoRTENciA cAsTRo

(b) County of Residence of First Listed Plaintit`f BERNAL|LLO
(EXCEPT]N l/.S. Pl,A/NN["["CASES)

(C) AftOm€yS (Firm Name, Address, and Te/ephone Number)
BRENT M. FERREL, LAW OFFlCE OF BRENT 1\/1. FERREL

P.O. BOX 7699

ALBUQUERQUE, NM 87194 (505) 503-6330

DEFENDANTS
GE|CO GENERAL lNSURANCE COMPANY

County of Residence of First Listed Defendant MONTGOMERY (MD)
([N U.S, I’l.A[/\/Tl/"/" CAS}:'S ONLY)

1N LAND C()NDEMNATlON CASES, USE THE L()CATION OF
THE TRACT OF LAND INV()LVED.

NOTE:

AltOm€yS (1/Kn0wn)
DONNA l_. CHAPMAN AND JESSIC/-\ C. SlNGER
CHAPMAN AND CHARLEBO|S, P.C. P.O. BOX 92438
ALBUQUERQUE, Nl\/l 87109 505-242-6000

 

 

II. BASIS OF JURISD!CTION (P/ace an "X"i)r()ne Box On[y) IIl. CITIZENSHIP OF PRINCIPAL PARTIES (P/ace an “X" in O)1e Boxfr)r P/a/'mr`fj'

 

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|:l 1 U,S. Govemment l:] 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S, Gavemmen/ Nol a [’arly) Citizen of This State g 1 ij l incorporated or Principal Place 13 4 13 4
of Business In This State
C| 2 U.S. Government U 4 Diversity Citizen of Another State ij 2 l:] 2 incorporated and Principal Place Cl 5 g 5
Defendant ([)1dica/e Ci'lizenshlp of Parties in /lem 111) of Business In Another State
Citizen or Subject ofa D 3 ij 3 Foreign Nation l‘_'l 6 [l 6
Foreign Country
IV NATURE OF SUIT (P/ace an X’ 1()ne Box ())1/y)
CONTRACT~ " ~'=TORTS ”‘1»' , . ` :~f?~`FO__RFEITURE/PENALTY#” 1' "BANKRUPTC~Y ~* f '!:~"'OTHER STATUTES
§ 110 insurance PERSONAL lNJURY PERSONAL INJURY ij 625 Drug Related Seizure [] 422 Appeal 28 USC 158 Cl 375 False Claims Act
D 120 Marine 13 310 Airplane g 365 Personal injury - Ot`Property 21 USC 881 [:l 423 Wilhdrawal D 400 State Reapportionmeut
D 130 Miller Act U 315 Airpiane Product Product Liability D 690 Otl'ier 28 USC 157 1:] 410 Antitrust
ij 140 Negotiable Instmment Liability CI 367 Health Care/ Cl 430 Banks and Banking
ij 150 Recovery of()verpa_vment D 320 Assault, Libel & Pbaimaceuticai ~ ` ~PROPERTY RIGHTS ~ : Cl 450 Commerce
& Enforcement of Judgment Slander Personal lnjury D 820 Copyrights [l 460 Deportation
C! 151 Medicare Aci Cl 330 Federai Employers’ Product Liability l‘_`l 830 Pa\ent 13 470 Racketeer influenced and
g 152 Recovery of Defaulted Liability D 368 Asbestos Personal D 840 Trademark Conupt Organizations
Student Loans Cl 340 Marine injury Product D 480 Consumer Credit
(Excludes Veterans) ij 345 Marine Product inability z 1::1~ LAB()R ': :'»; ~, S()CIAL'SECURITY' `:~1<\»~ D 490 Cable/Sat TV
D 153 Recovery of Overpayment Liability PERSONAL PROPERTV Cl 710 Fair Labor Standards Cl 861 HIA (1395fD l:l 850 Securities/C`ommodities/
of Veteran's Benefits ij 350 Motor Vehicle ij 370 Other Fraud Act D 862 Black Lurig (9231 Excliange
l:l 160 Stockholders’ Suits D 355 Motor Vehicle Cl 371 Truth in Lending C] 720 Labor/Management ij 863 DIWC/DIWW (405(g)) Cl 890 Other Statutory Actions
g 190 Other Contract Product Liability [] 380 Otl\er Personal Relations Cl 864 SSID Title XV| 13 891 Agricultural Acts
Cl 195 Contract Product Liabiiity 13 360 Other Personal Propeny Damage ij 740 Railway Labor Act ij 865 RSI (405(g)) ij 893 Environmemal Matters
13 196 Franchise lrijury Cl 385 Property Damage [] 751 Family and Medical Cl 895 Freedom oflnformation
D 362 Personal ln_iury - Product Liability Leave Act Act
_ Medical Malpractice D 790 Other Labor Litigation E] 896 Arbitration
REAL"PROPl_E_l_{TY:¥" CIVIL'RIGHT " llT,`VS'IZ‘RISONER PETlTIONS El 791 Employee Retirement z'~~lq'lill)E`.RAl_I'l`AX SUITS |'_'l 899 Ad.ministrative Proccdure
Cl 210 Land Condemnation D 440 Other Civil Rights Habeas Corpus: lncome Security Act ij 870 Taxes (U.S, Plaintiff Act/Review or Appeal of
U 220 Foreclosure g 441 Voting ij 463 Alien Detainee or Defendant) Agency Decision
|:| 230 Rent Lease & E_jectment Cl 442 Employment [1 510 Motions to Vacate D 871 IRS_Third Paity ij 950 Constitutionality of
['J 240 Toits to Land Cl 443 Housing/ Sentence 26 USC 7609 State Statutes
D 245 Tori Product Liability Accommodations l`_'l 530 General _ v '_ 7 vi v b 7 4 .,
D 290 All Other Real Property [:| 445 Amer. w/Disabilities - 1:1 535 Death Penalty t fy _IMMIGRATION" 7 ' " ' 7 `
Empioyment Other: 13 462 Naturalization Application Ele T
D 446 Arner. w/Disabilities - D 540 Mandz\mus & Other U 465 Olher Immigration
Oiher D 550 Civil Rights Actions
D
C|

560 Civil Detainee -
Couditions of
Continement

 

 

 

 

 

 

V. ORIGIN (P/ace an "X" in O)re Br)x On/y)

C`l 1 Original HZ Removed from
Proceeding State Court

13 3 Remanded from D 4

Appellate Court

28 U.S.C. 1332 (a) and 1441(b)

Brief description of cause:

Personal injury Ui\/l/Uli\/l
13 CHECK IF THIS IS A CLASS ACTION

VI. CAUSE OF ACTION

 

VII. REQUESTED IN

Reinstated or
Reopened
(Sp€¢"`M

DEMAND $

C] 5 Transt`erredt`rom
Another District

ij 6 Multidistrict
Litigation

Cit€ 1116 U.S. CiVil Sf&fule under Which you are filing (Do not cite jurisdictional statutes unless diversity)l

CHECK YES only if demanded in complaint
H No

 

 

 

 

COMPLAINT: UNDER RULE 23, F-R-Cv-P- JURY DEMAND; ci Yes
vllI. RELATED CASE(S)
IF ANY (See ms'rumom): JUDGE DoCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFlCE USE ONLY
AMOUNT APPLYlNG lFP JUDGE MAG, JUDGE

RECEiPT #

 

